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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-0645V
                                      (not to be published)


    JULIET LEY,
                                                             Chief Special Master Corcoran
                        Petitioner,
    v.                                                       Filed: November 8, 2019


    SECRETARY OF HEALTH AND                                  Special Processing Unit               (SPU);
    HUMAN SERVICES,                                          Attorney’s Fees and Costs


                        Respondent.


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS1

       On May 7, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered left shoulder injuries related to vaccine
administration (“SIRVA”) resulting from an influenza (“flu”) vaccination received on
November 11, 2016. (Petition at 1). On October 16, 2019, I issued my decision awarding
compensation to Petitioner based on the parties’ stipulation. (ECF No. 32.)

      Petitioner has now filed a motion for attorney’s fees and costs, dated October 24,
2019, (ECF No. 38), requesting a total award of $8,641.97 (representing $7,373.90 in

1 Although I have not designated this Decision for publication, it will be made available on the United States
Court of Federal Claims’ website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note
(2012) (Federal Management and Promotion of Electronic Government Services). In accordance with
Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the
identified material fits within this definition, I will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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fees and $1,268.07 in costs). In accordance with General Order #9, counsel for Petitioner
filed a signed statement that Petitioner did not incur out-of-pocket expenses. (ECF No.
37.) Respondent reacted to the motion on October 28, 2019 indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case and defers to the Court’s discretion to determine the amount to be awarded. (ECF
No. 39). By electronic correspondence on November 4, 2019, counsel for Petitioner
notified the staff attorneys office that Petitioner did not intend to file a reply. See Informal
Remark, November 4, 2019.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $8,641.97 (representing $7,373.90 in attorney’s fees and $1,268.07 in
costs) as a lump sum in the form of a check jointly payable to Petitioner and her counsel,
Bridget Candace McCullough, Esq. In the absence of a timely-filed motion for review (see
Appendix B to the Rules of the Court), the Clerk shall enter judgment in accordance with
this decision.3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
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